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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-62125-CIV-ALTMAN

  JOEL LUCOFF,

        Plaintiff,
  v.

  AMERICAN HONDA FINANCE
  CORPORATION,

        Defendant.

  _____________________________________/

                                       ORDER OF DISMISSAL

        THIS MATTER comes before the Court on the parties’ Joint Stipulation of Dismissal with

  Prejudice [ECF No. 19]. Being fully advised, the Court hereby ORDERS that this action is

  DISMISSED with prejudice.

        DONE AND ORDERED in Fort Lauderdale, Florida this 11th day of February 2021.



                                                  _________________________________
                                                  ROY K. ALTMAN
                                                  UNITED STATES DISTRICT JUDGE

  cc:   counsel of record
